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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

 REX CLAY,                                    )
                                              )
                     Plaintiff,               )
                                              )
          vs.                                 )
                                              ) Case No. 1:15-cv-0075-TWP-DKL
                                              )
 MARTIN MARIETTA MATERIALS,                   )
 INC.,                                        )
                                              )
                     Defendant.               )
                                              )
                                              )

                                    ORDER GRANTING MOTION FOR
                                  LEAVE TO WITHDRAW APPEARANCE

          This matter came before the Court on Peter T. Tschanz’s Motion for Leave to Withdraw

 Appearance, and the Court being duly advised, NOW GRANTS said Motion.

          IT IS THEREFORE ORDERED that Peter T. Tschanz’s Appearance is hereby withdrawn

 and also deleted from all distribution and service lists. Defendant Martin Marietta Materials,

 Inc., continues to be represented by Peter A. Morse, Jr., of Barnes & Thornburg LLP.


                 4/5/2016
 Dated:
                                                  ________________________
                                                  Hon. Tanya Walton Pratt, Judge
 Distribution:                                    United States District Court
                                                  Southern District of Indiana
 Peter A. Morse, Jr. – pete.morse@btlaw.com
 Peter T. Tschanz – peter.tschanz@btlaw.com
 John Robert Panico – jpanico@discriminationlawgroup.com




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